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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


KIMYETTA KING,                       :
                                     :
                  Plaintiff,         :
                                     :
                         v.          :     Civil Action No. 18-486
                                     :
CITY OF PHILADELPHIA, et al.,        :
                                     :
                  Defendants.        :


                                    ORDER


      AND NOW, this _____ day of ___________, 2018, upon consideration of

Defendants City of Philadelphia and Sgt. Nancy Quinn’s Motion to Dismiss, and

any response thereto, it is hereby ORDERED that the Motion is GRANTED. All

claims against Defendants City of Philadelphia and Sgt. Nancy Quinn are

dismissed.




                                     BY THE COURT:



                                     _________________________
                                     GENE E.K. PRATTER, J.
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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


KIMYETTA KING,                         :
                                       :
                   Plaintiff,          :
                                       :
                          v.           :       Civil Action No. 18-486
                                       :
CITY OF PHILADELPHIA, et al.,          :
                                       :
                   Defendants.         :



DEFENDANTS CITY OF PHILADELPHIA AND SGT. NANCY QUINN’S MOTION
           TO DISMISS FOR FAILURE TO STATE A CLAIM


      Defendants City of Philadelphia and Sgt. Nancy Quinn file this Motion to

Dismiss for Failure to State a Claim under Fed. R. Civ. Pro. 12(b)(6), seeking that

all claims against them be dismissed. Defendants respectfully requests that this

Court dismiss these claims brought against Defendants on the grounds more fully

described in the supporting memorandum of law.


                                                      Respectfully Submitted,

                                                      CITY OF PHILADELPHIA
                                                      LAW DEPARTMENT

Date: March 6, 2018                             BY:    s/ Benjamin R. Patchen
                                                      Benjamin R. Patchen
                                                      Assistant City Solicitor




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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


KIMYETTA KING,                          :
                                        :
                    Plaintiff,          :
                                        :
                           v.           :       Civil Action No. 18-486
                                        :
CITY OF PHILADELPHIA, et al.,           :
                                        :
                    Defendants.         :



  DEFENDANTS CITY OF PHILADELPHIA AND SGT. NANCY QUINN’S
MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION TO DISMISS FOR
                FAILURE TO STATE A CLAIM


      Defendants City of Philadelphia and Sgt. Nancy Quinn submit this

Memorandum of Law in Support of their Motion for to Dismiss for Failure to State a

Claim under Fed. R. Civ. P. 12(b)(6). First, Plaintiff’s 42 U.S.C. § 1983 claims

brought against the City of Philadelphia should be dismissed because Plaintiff has

not specifically identified a custom or policy of the City of Philadelphia that was the

moving force behind any constitutional injury. Second, Count I should be dismissed

against Defendant Sgt. Nancy Quinn because Plaintiff has failed to plead any facts

to support the claim that any action was taken because of her race. Third, Plaintiff’s

Title VII claim brought against Sgt. Nancy Quinn should be dismissed because

individual defendants cannot be held liable under Title VII. Fourth, Plaintiff’s Title

VII, Pennsylvania Human Relations Act (PHRA), and Philadelphia Fair Practices

Ordinance (PFPO) claims should be dismissed because Plaintiff has failed to


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administratively exhaust those claims. Finally, Plaintiff’s retaliation claims should

be dismissed because Plaintiff has failed to plead specific facts supporting her

conclusory assertion that she engaged in protected activity.

      I.      FACTUAL SUMMARY1

           Plaintiff is a female African American Police Officer who currently works in

the Court Liaison Unit (“CLU”) of the Philadelphia Police Department. Compl. ¶ 2.

Defendant Sergeant Nancy Quinn is Plaintiff’s supervisor at the CLU. Id. ¶ 5.

Plaintiff has alleged, without further elaboration that Defendant Quinn singled out

Plaintiff based on her race and treated Plaintiff less favorably than similar situated

non-minority officers. Id. ¶ 13. Plaintiff also alleges that Defendants have

retaliated against Plaintiff and other African American police officers for making

complaints of discrimination. Id. ¶¶ 16 and 33.

           Plaintiff has alleged that the Defendants discriminated and retaliated

against her by: (1) assigning Plaintiff to a more difficult courtroom assignment; (2)

refusing to assign an additional officer to work with Plaintiff; (3) refusing to

transfer Plaintiff to a less demanding room; (4) requiring Plaintiff to “suggest” a

partner to work with her; (5) punishing and harassing Plaintiff’s peers for assisting

Plaintiff; (6) denying Plaintiff’s vacation request and (7) reprimanding Plaintiff. Id.

¶ 17.

           Plaintiff has alleged that, based on these facts, Defendants have violated her

rights to equal protection under the Fourteenth Amendment, Compl. ¶¶ 19-53, and


1   For the purposes of this Motion to Dismiss, Defendant accepts the facts as pled by Plaintiff as true.


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have violated Title VII, the PHRA, and the PFPO by intentionally discriminating

against Plaintiff based on her race, creating a hostile work environment, and

retaliating against them. Compl. ¶¶ 19-43.

      II.      STANDARD OF REVIEW

            To survive a motion to dismiss, “a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). In deciding a motion to dismiss, a court

must determine whether the complaint “pleads factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id. (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 556 (2007)). “The

plausibility standard is not akin to a ‘probability requirement,’ but it asks for more

than a sheer possibility that a defendant has acted unlawfully.” Id. “Where a

complaint pleads facts that are ‘merely consistent with’ a defendant’s liability, it

stops short of the line between possibility and plausibility of entitlement to relief.”

Id.

            “The tenet that a court must accept as true all of the allegations contained in

a complaint is inapplicable to legal conclusions.” Id. at 678. “Threadbare recitals of

the elements of a cause of action, supported by mere conclusory statements, do not

suffice.” Id.      Further, “only a complaint that states a plausible claim for relief

survives a motion to dismiss.” Id. at 679.

      I.       ARGUMENT




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          A. PLAINTIFF’S 42 U.S.C. § 1983 CLAIM AGAINST THE CITY OF
             PHILADELPHIA FAILS BECAUSE PLAINTIFF HAS NOT
             IDENTIFIED A POLICY OR CUSTOM THAT VIOLATES
             PLAINTIFF’S CONSTITUTIONAL RIGHTS.

      Plaintiff fails to identify a specific custom or policy of the City of Philadelphia

that was the moving force behind any alleged constitutional violations. Thus,

Plaintiff fails to state plausible claims against the City for violations of Section

1983, and those claims should be dismissed.

      Municipalities are generally immune from liability under 42 U.S.C. § 1983

except where the municipality’s policy or custom was the moving force behind the

constitutional violation. Watson v. Abington Twp., 478 F.3d 144, 155 (3d Cir. 2007).

A policy exists “when a ‘decisionmaker possess[ing] final authority to establish

municipal policy with respect to the action issues an official proclamation, policy, or

edict.’” Id. (citing Bielevicz v. Dubinon, 915 F.2d 845, 850 (3d Cir. 1990)). Custom

requires that a plaintiff demonstrate that “a given course of conduct, although not

specifically endorsed or authorized by law, is so well-settled and permanent as

virtually to constitute law.” Watson, 478 F.3d at 155. In either case, “a plaintiff

must show that an official who has the power to make policy is responsible for

either the affirmative proclamation of a policy or acquiescence in a well-settled

custom.” Id.

      Further, the plaintiff bears the burden of providing evidence that the

identified “policy or custom was the proximate cause of the injuries suffered.”

Watson, 478 F.3d at 155. “If…the policy or custom does not facially violate federal

law, causation can be established only by demonstrat[ing] that the municipal action


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was taken with ‘deliberate indifference’ as to its known or obvious consequences. A

showing of simple or even heightened negligence will not suffice.” Berg v. Cnty. of

Allegheny, 219 F.3d 261, 276 (3d Cir. 2000).

      Under Fed. R. Civ. P. 8(a)(2), a plaintiff must identify the specific custom or

policy at issue. McTernan v. City of York, PA, 564 F.3d 636, 658 (3d Cir. 2009).

“Mere assertion of an entitlement to relief, without some factual ‘showing,’ is

insufficient[.]” Id. Moreover, where the custom or policy is not facially

unconstitutional and, thus, requires proof of deliberate indifference on the part of

the decisionmaker, a plaintiff must plead facts supporting an inference that such

deliberate indifference exists. Id. at 658-59.

      Plaintiff fails to identify any City of Philadelphia custom or policy that was

the moving force behind any alleged constitutional violations. Nor does Plaintiff

plead any facts supporting a finding of deliberate indifference on the part of a

decisionmaker. Rather, the Complaint is replete with allegations specific to

Defendant Quinn, not the City of Philadelphia or its decisionmakers. Compl. ¶¶ 19-

33. Plaintiff has, therefore, failed to meet the pleading standards for municipal

liability claims under Fed. R. Civ. P. 8, and this Court should dismiss those claims.




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           B. PLAINTIFF’S 42 U.S.C. § 1983 CLAIM AGAINST SGT. QUINN
              FAILS BECAUSE PLAINTIFF HAS FAILED TO ADEQUATELY
              PLEAD THAT SIMILIARY-SITUATED NON-MEMBERS OF THE
              PROTECTED CLASS WERE TREATED MORE FAVORABLY

        Plaintiff has failed to adequately plead a Section 1983 claim against Sgt.

Quinn because she has failed to adequately plead that similarly-situated non-

members of her protected class were treated more favorably or any other non-

conclusory allegations to show that any action was taken against her because of her

race.

        Equal protection discrimination claims are evaluated under the same test as

Title VII claims. St. Mary's Honor Ctr. v. Hicks, 509 U.S. 502, 506 n.1 (1993);

Stewart v. Rutgers, State Univ., 120 F.3d 426, 432 (3d Cir. 1997). A prima facie

case of employment discrimination establishes that: (1) the plaintiff belongs to a

protected class; (2) he was qualified for the position; (3) he was subject to an adverse

employment action despite being qualified; and (4) either similarly-situated non-

members of the protected class were treated more favorably or the adverse job

action occurred under circumstances that give rise to an inference of discrimination.

McDonnell Douglas Corp. v Green, 411 U.S. 792, 802 (1973); Sarullo v. United

States Postal Serv., 352 F.3d 789, 797 (3d Cir. 2003). Here, Plaintiff has failed to

adequately plead that similarly-situated non-members of her protected class were

treated more favorably.

        Plaintiff’s complaint must aver facts that, under the circumstances, give rise

to an inference of discrimination. Here, the only relevant allegation is that

Defendant Quinn singled out Plaintiff based on her race and treated Plaintiff less


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favorably than similar situated non-minority officers. This conclusory allegation

fails to identify any police officers who were treated differently, and further fails to

provide any factual allegations that show that the employees engaged in the same

or similar conduct as Plaintiff and were treated differently.

      To be “similarly situated” for purposes of an equal protection claim, the

employees to whom the plaintiff compares himself must be similar to him in “all

relevant respects” except membership in a protected class. Singh v. Wal-Mart

Stores, Inc., No. 98-1613, U.S. Dist. Lexis 8531 at *9 (E. D. Pa. June 10, 1999); see

also Miller v. Delaware Dep’t of Probation and Parole, 158 F. Supp. 2d 406, 411(D.

Del. 2001) (to establish “similarly situated” employee, plaintiff must show that the

employment situation is nearly identical to those of employees whom he alleges

were treated more favorably). In determining whether two employees are similarly

situated, relevant factors include a showing that the two employees dealt with the

same supervisor, were subject to the same standards, and had engaged in similar

conduct without much differentiating or mitigating circumstances as would

distinguish their conduct or the employer’s treatment of them.” McCullers v.

Napolitano, 427 F. App’x 190, 195 (3d Cir. 2011) (quoting Radue v. Kimberly-Clark

Corp., 219 F.3d 612, 617-18 (7th Cir. 2000)).

      Because the Plaintiff has failed to plead any information about the

comparators or their conduct, Plaintiff has failed to make out a prima facie case and

her Section 1983 claim should be dismissed against Sgt. Quinn. Further, Plaintiff




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has not alleged any facts that show that any action was taken against her because

of her race.

          C. PLAINTIFF’S TITLE VII, PHRA, AND PFPO CLAIMS FAIL
             BECAUSE SHE HAS FAILED TO EXHAUST HER
             ADMINISTRATIVE REMEDIES.

      Plaintiff did not plead that she exhausted her administrative remedies with

respect to their Title VII, PHRA, and PFPO claims. Because Plaintiff must exhaust

her administrative remedies with respect to these claims before requesting judicial

relief, this Court should dismiss these claims.

      To bring a suit under Title VII, the PHRA, or the PFPO, a plaintiff must first

file a charge with the EEOC and the Pennsylvania Human Rights Commission.

Barzanty v. Verizon PA, Inc., 361 Fed. Appx. 411, 413 (3d Cir. 2010); Vandegrift v.

City of Phila., 228 F.Supp. 3d 464, 481 (E.D.Pa. 2017) (holding that PFPO claims

are administratively exhausted when a plaintiff files a complaint predicated on the

same facts with another administrative body). Any ensuing lawsuit is limited to the

claims that are within the scope of that initial administrative charge. Id. at 413-14

(citing Antol v. Perry, 82 F.3d 1291, 196 (3d Cir. 1996)).

      Plaintiff has failed to comply with the requirement that she exhaust her

administrative remedies for the Title VII, PHRA, and PFPO claims prior to filing a

lawsuit. Accordingly, this Court should dismiss those claims.




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          D. PLAINTIFF’S TITLE VII CLAIMS AGAINST DEFENDANT QUINN
             FAIL BECAUSE INDIVIDUALS CANNOT BE LIABLE UNDER
             TITLE VII.

      It appears that Plaintiff has brought Title VII claims against Defendant

Quinn. Compl. ¶¶ 34-43. To the extent this is the case, individuals may not be held

liable under Title VII, Sheridan v. E.I. DuPont de Nemours and Co., 100F.3d 1061,

1077 (3d Cir. 1996), and those claims should be dismissed.

          E. PLAINTIFF’S RETALIATION CLAIMS FAIL BECAUSE
             PLAINTIFFS HAVE NOT IDENTIFIED ANY PROTECTED
             ACTIVITY.

      Plaintiff has pled Section 1983, Title VII, PHRA, and PFPO retaliation

claims. Compl. ¶¶ 54-72. These claims fail because Plaintiff has not pled, beyond

conclusory assertions, that that she engaged in protected activity. Therefore, this

Court should dismiss Plaintiff’s retaliation claims.

      To state a prima facie case of retaliation under Title VII, a plaintiff must

establish: “(1) she engaged in protected activity; (2) the employer engaged in

conduct constituting an adverse action either contemporaneous with or after the

protected activity; and (3) a causal connection between the protected activity and

the adverse action.” Jones v. SEPTA, 796 F.3d 323, 329 (3d Cir. 2015). “Protected

activity for a retaliation claim includes ‘not only an employee's filing of formal

charges of discrimination against an employer but also informal protests of

discriminatory employment practices, including making complaints to

management.’” Sannoh v. Horizon House, Inc., No. 16-5233, 2017 WL 4167439, at




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*3 (E.D.Pa. Sept. 20, 2017) (citing Daniels v. School Dist. of Phila., 776 F.3d 181,

193 (3d Cir. 2015)).

       Plaintiff offers only boilerplate statements that, “Defendants have retaliated

against Plaintiff and other African American police officers for making complaints

of discrimination” and that Plaintiff has been punished “for her complaints of

discrimination. . .” as support for her assertion that she engaged in conduct

protected by Section 1983, Title VII, the PHRA, and the PFPO. Compl. ¶¶ 16 and

33.

       First, these statement are nothing more than the type of conclusory assertion

the Supreme Court has deemed insufficient to comply with the notice pleading

standards set forth in the Federal Rules of Civil Procedure. Ashcroft v. Iqbal, 556

U.S. at 678 (“Threadbare recitals of the elements of a cause of action, supported by

mere conclusory statements, do not suffice.”) Plaintiff has not identified what

action she took, when she took them, or the causal connection between those actions

and the allegedly retaliatory conduct. Accordingly, this Court should dismiss

Plaintiff’s retaliation claims.




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VI.   CONCLUSION

      Defendants City of Philadelphia and Sgt. Nancy Quinn respectfully request

that this Honorable Court grant this Motion and dismiss all claims against them.



                                                    Respectfully Submitted,

                                                    CITY OF PHILADELPHIA
                                                    LAW DEPARTMENT

Date: March 6, 2018                           BY:     s/ Benjamin R. Patchen
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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


KIMYETTA KING,                        :
                                      :
                   Plaintiff,         :
                                      :
                          v.          :      Civil Action No. 18-486
                                      :
CITY OF PHILADELPHIA, et al.,         :
                                      :
                   Defendants.        :



                           CERTIFICATE OF SERVICE


      I hereby certify that on the date below, the foregoing Motion to Dismiss and

Memorandum of Law has been filed electronically and is available for viewing and

downloading.



                                                    Respectfully Submitted,

                                                    CITY OF PHILADELPHIA
                                                    LAW DEPARTMENT

Date: March 6, 2018                           BY:    s/ Benjamin R. Patchen
                                                    Benjamin R. Patchen
                                                    Assistant City Solicitor
